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 Fill in this information to identify the case:


 United States Bankruptcy Court for the District of Delaware


 Case number (If known):                                     Chapter 11                                                                    Check if this is an
                                                                                                                                           amended filing
Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        14/16

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case number
(if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



 1.   Debtor’s name                                Maremont Corporation


 2.   All other names debtor used
      in the last 8 years
 Include any assumed names,
 trade names, and doing business as
 names



 3.   Debtor’s federal Employer
      Identification Number (EIN)                  XX-XXXXXXX

 4.   Debtor’s address                             Principal place of business                             Mailing address, if different from principal
                                                                                                           place of business

                                                   2135 West Maple Road
                                                   Number       Street                                     Number     Street



                                                   Troy, MI 48084
                                                   City           State     ZIP Code                       City         State       ZIP Code


                                                                                                           Location of principal assets, if different
                                                                                                           from principal place of business
                                                   Oakland
                                                   County


                                                                                                           Number    Street


                                                                                                           City      State      ZIP Code



 5.   Debtor’s website (URL)

 6.   Type of debtor                                      Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                                          Partnership (excluding LLP)
                                                          Other. Specify:




Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                      page 1
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 Debtor Name Maremont Corporation                                Case number(if known)
 7.    Describe debtor’s business            A. Check one:
                                                  Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                  Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                  Railroad (as defined in 11 U.S.C. § 101(44))
                                                  Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                  Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                  Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                                  None of the above


                                             B. Check all that apply:
                                                    Tax-exempt entity (as described in 26 U.S.C. § 501)
                                                    Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §
                                                    80a-3)
                                                  Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                             C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes.

                                             4413        ___________



 8.    Under which chapter of the            Check one:
       Bankruptcy Code is the debtor                Chapter 7
       filing?
                                                    Chapter 9
                                                    Chapter 11. Check all that apply:
                                                                        Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                        insiders or affiliates) are less than $2,566,050 (amount subject to adjustment on
                                                                        4/01/19 and every 3 years after that).
                                                                        The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                                        debtor is a small business debtor, attach the most recent balance sheet, statement
                                                                        of operations, cash-flow statement, and federal income tax return or if all of these
                                                                        documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                        A plan is being filed with this petition.
                                                                        Acceptances of the plan were solicited prepetition from one or more classes of
                                                                        creditors, in accordance with 11 U.S.C. § 1126(b).
                                                                        The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                        Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                        Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                                        Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                                                        The debtor is a shell company as defined in the Securities Exchange Act of 1934
                                                                        Rule 12b-2.
                                                         Chapter 12


 9.    Were prior bankruptcy cases                No
       filed by or against the debtor             Yes.     District                             When                    Case number
       within the last 8 years?                                                                        MM / DD / YYYY

 If more than 2 cases, attach a separate                   District                             When                    Case number
 list.                                                                                                 MM / DD / YYYY


 10.   Are any bankruptcy cases                   No
       pending or being filed by a                Yes.     Debtor     See Attachment 1                                  Relationship
       business partner or an affiliate
                                                           District                                                     When
       of the debtor?                                                                                                                  MM / DD   /YYYY
                                                           Case number, if known
 List all cases. If more than 1, attach a
 separate list.




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 Debtor Maremont Corporation                                       Case number(if known)
           Name



 11.   Why is the case filed in this            Check all that apply:
       district?
                                                     Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                     immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                     district.
                                                     A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this
                                                     district.


 12.   Does the debtor own or have                  No
       possession of any real                        Yes. Answer below for each property that needs immediate attention. Attach additional sheets if
       property or personal property                 needed.
       that needs immediate                          Why does the property need immediate attention? (Check all that apply.)
       attention?
                                                          It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                          safety.
                                                          What is the hazard?
                                                          It needs to be physically secured or protected from the weather.
                                                          It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                          attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                          assets or other options).
                                                          Other
                                                Where is the property?
                                                                          Number     Street




                                                                          City                                      State                ZIP Code

                                                Is the property insured?
                                                    No
                                                     Yes. Insurance agency

                                                           Contact

                                                           Phone


                  Statistical and administrative information

 13.   Debtor’s estimation of                   Check one:
       available funds                               Funds will be available for distribution to unsecured creditors.

                                                     After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                                     creditors.


 14.   Estimated number of creditors                1-49                                      1,000-5,000                        25,001-50,000
       (consolidated basis)                         50-99                                     5,001-10,000                       50,001-100,000
                                                    100-199                                   10,001-25,000                      More than 100,000
                                                    200-999

                                                    $0-$50,000                                $1,000,001-$10 million             $500,000,001-$1 billion
 15.   Estimated assets                             $50,001-$100,000                          $10,000,001-$50 million            $1,000,000,001-$10 billion
       (consolidated basis)                         $100,001-$500,000                         $50,000,001-$100 million           $10,000,000,001-$50 billion
                                                    $500,001-$1 million                       $100,000,001-$500 million          More than $50 billion




Official Form 201                             Voluntary Petition for Non-Individuals Filing for Bankruptcy                                          page 3
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 Debtor Maremont Corporation                                        Case number(/ffe/70wn)_
          Name



 16.   Estimated liabilities
       (consolidated basis)                        $0-$50,000                               $1,000,001-$10 million                $500,000,001-$1 billion

                                                   $50,001-$100,000                         $10,000,001-$50 million               $1,000,000,001-$10 billion
                                                   $100,001-$500,000                       $50,000,001-$100 million               $10,000.000,001-$50 billion
                                                   $500,001-$1 million                  El $100,000,001-$500 million              More than $50 billion

                 Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
            imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152,1341,1519, and 3571,


 17.   Declaration and signature of               The debtor requests relief In accordance with the chapter of title 11, United States Code, specified in
       authorized representative of               this petition.
       debtor
                                                  I have been authorized to file this petition on behalf of the debtor.

                                                  I have examined the information in this petition and have a reasonable belief that the information is
                                                  true and correct.

                                              I declare under penalty of perjury that the foregoing is true and correct.

                                              Executed on          01/22/2019
                                                                MM / OP / YYYY


                                                   Is!                                                                    Carl D. Anderson. II
                                                   Signature of authorized representative of debtor             Printed name

                                                   Title        Chairman and Sole Officer


                                              Date.                  01/22/2019
 18.   Signature of attorney                               li mId d Wy y y
                                              X
                                                   Signati re c>| attorney for debtor


                                             James F. Conlan                                                Norman L. Pernick
                                             Printed name
                                             Sidlev Austin LLP                                             Cole Schotz P.C.
                                             Firm name
                                             One South Dearborn                                             500 Delaware Avenue. Ste. 1410
                                             Address
                                             Chicaao. IL 60603                                              Wilminoton. DE 19801
                                             City/State/ZIP
                                             (312) 853-6890                                                 (302) 651-2000
                                             Contact phone

                                             iconlaniat.sidlev.com                                           nDernickfacoleschotz.com
                                             Email address
                                                                                                             2290
                                                                                                             DE Bar number




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                                                         ATTACHMENT 1

                         PENDING OR CONCURRENT BANKRUPTCY CASES FILED BY AFFILIATES

                On the date hereof, each of the affiliated entities listed below (including the debtor in this chapter 11 case)
      filed a voluntary petition for relief under title 11 of the United States Code in the United States Bankruptcy Court for
      the District of Delaware. A motion has been filed with the Court requesting that the chapter 11 cases of these entities
      be jointly administered.

Entity Name                                                  Relationship      District       Date                Case Number
Maremont Corporation                                         Affiliate         District of                        Not Yet Assigned
                                                                               Delaware        01/22/2019
Maremont Exhaust Products, Inc.                              Affiliate         District of                        Not Yet Assigned
                                                                               Delaware        01/22/2019
AVM, Inc.                                                    Affiliate         District of                        Not Yet Assigned
                                                                               Delaware        01/22/2019
Former Ride Control Operating Company, Inc.                  Affiliate         District of                        Not Yet Assigned
                                                                               Delaware        01/22/2019
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                        CERTIFICATE OF CORPORATE OFFICER

                                         January 21, 2019

       I, Carl D. Anderson, II, being a duly elected and authorized officer, as set forth on Exhibit
A hereto, of each of the following (each a “Company” and, collectively, the “Companies”):

       A.      Maremont Corporation, a Delaware corporation;

       B.      Maremont Exhaust Products, Inc., a Delaware corporation;

       C.      AVM, Inc., a South Carolina corporation; and

       D.      Former Ride Control Operating Company, Inc., a Delaware corporation

hereby certify as follows:

       A.      I am a duly qualified and elected officer of each of the Companies and, as such, I
               am familiar with the facts herein certified and I am duly authorized to certify the
               same on behalf of the Companies;

       B.      Attached hereto is a true, correct, and complete copy of the joint resolutions of the
               boards of directors of each of the Companies, duly adopted and approved on
               January 21, 2019, in accordance with each Company’s corporate organizational
               documents; and

       C.      Such resolutions have not been amended, altered, annulled, rescinded, modified or
               revoked since their adoption and remain in full force and effect as of the date hereof.
               There exist no subsequent resolutions relating to the matter set forth in the
               resolutions attached hereto.
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      IN WITNESS WHEREOF, the undersigned has executed this certificate as of the 21st day
of -----
    January  , 2019.




                                             Name: Carl D. Anderson, II
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                             EXHIBIT A

                   Entity                               Position
Maremont Corporation                          Chairman and Sole Officer
Maremont Exhaust Products, Inc.               Director and Sole Officer
AVM, Inc.                                     Director and Sole Officer
Former Ride Control Operating Company, Inc.   Director and Sole Officer
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          JOINT RESOLUTIONS OF THE BOARDS OF DIRECTORS OF
     MAREMONT CORPORATION, MAREMONT EXHAUST PRODUCTS, INC.,
     AVM, INC. AND FORMER RIDE CONTROL OPERATING COMPANY, INC.

         Effective as of this 21st day of January, 2019, pursuant to a joint special meeting (the
“Meeting”) of the boards of directors (each, a “Board of Directors” and collectively, the “Boards
of Directors”) of Maremont Corporation (“Maremont”), a Delaware corporation, Maremont
Exhaust Products, Inc. (“MEP”), a Delaware corporation, AVM, Inc., a South Carolina
corporation and Former Ride Control Operating Company, Inc. (“FRCOC”), a Delaware
corporation (collectively, the “Companies” and each, a “Company”), on the same date, at which
a quorum was present, upon a motion duly made and seconded, as applicable, and acting pursuant
to each Company’s organizational documents, the members of the Boards of Directors constituting
at least a majority of the directors of each such Board of Directors then in office took the following
actions and adopted the following resolutions:

       WHEREAS, the Boards of Directors have considered presentations made by, and have
reviewed and had the opportunity to ask questions about the materials presented by, the
management and the legal and financial advisors of each Company regarding the Companies’
asbestos-related liabilities, current and projected financial position, liquidity and prospects of each
Company, the strategic alternatives available to it, and the impact of the foregoing on each
Company’s business;

       WHEREAS, the Boards of Directors have had the opportunity to consult with the
management and the legal and financial advisors of each Company to fully consider, and have
considered, the strategic alternatives available to each Company; and

       WHEREAS, the Boards of Directors desire to approve the following resolutions.

       Commencement of Chapter 11 Cases and Filing of Plan of Reorganization

        NOW, THEREFORE, BE IT RESOLVED, that the Boards of Directors have
determined, after consultation with the management and the legal and financial advisors of each
Company, that it is desirable and in the best interests of each Company, its shareholders, creditors,
and other parties in interest that petitions be filed with the United States Bankruptcy Court for the
District of Delaware (the “Bankruptcy Court”) by each Company to seek relief under the
provisions of chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) and to
pursue confirmation of a prepackaged chapter 11 plan of reorganization (as such plan may be
amended, modified or supplemented from time to time, the “Plan”), the form of the Plan which
has been presented to each Board of Directors, which have each considered and had the opportunity
to ask questions about such Plan; and be it further

        RESOLVED, that any officer of each Company (each, an “Authorized Person”), in each
case, acting singly or jointly, be, and each hereby is, authorized, empowered, and directed, with
full power of delegation, to negotiate, execute, deliver, and file with the Bankruptcy Court, in the
name and on behalf of each Company, and under its corporate seal or otherwise, all plans, petitions,
schedules, statements, motions, lists, applications, pleadings, papers, affidavits, declarations,
orders and other documents (collectively, the “Chapter 11 Filings”) (with such changes therein
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and additions thereto as any such Authorized Person may deem necessary, appropriate or
advisable, the execution and delivery of any of the Chapter 11 Filings by any such Authorized
Person with any changes thereto to be conclusive evidence that any such Authorized Person
deemed such changes to meet such standard); and be it further

         RESOLVED, that any Authorized Person, in each case, acting singly or jointly, be, and
each hereby is, authorized, empowered, and directed, with full power of delegation, in the name
and on behalf of each Company, to take and perform any and all further acts and deeds that such
Authorized Person deems necessary, appropriate, or desirable in connection with each Company’s
chapter 11 cases (the “Chapter 11 Cases”) or the Chapter 11 Filings, including, without limitation,
(i) the payment of fees, consent payments, indemnities, taxes and other expenses such Authorized
Person deems necessary, appropriate, or desirable, and (ii) negotiating, executing, delivering,
performing and filing any and all additional documents, schedules, statements, lists, papers,
agreements, certificates and/or instruments (or any amendments or modifications thereto) in
connection with, or in furtherance of, the Chapter 11 Cases with a view to the successful
prosecution of the Chapter 11 Cases, including the Plan (such acts to be conclusive evidence that
such Authorized Person deemed the same to meet such standard); and be it further

       Retention of Advisors

        RESOLVED, that, in connection with the Chapter 11 Cases, any Authorized Person, in
each case, acting singly or jointly, be, and each hereby is, authorized, empowered, and directed,
with full power of delegation, in the name and on behalf of each Company, to employ and retain
all assistance by legal counsel, accountants, financial advisors, investment bankers and other
professionals, on behalf of each Company, that such Authorized Person deems necessary,
appropriate or advisable in connection with, or in furtherance of, the Chapter 11 Cases, with a view
to the successful prosecution of the Chapter 11 Cases (such acts to be conclusive evidence that
such Authorized Person deemed the same to meet such standard); and be it further

         RESOLVED, that the law firm of Sidley Austin LLP, One South Dearborn, Chicago,
Illinois 60603, is hereby retained and employed as attorneys for each Company in the Chapter 11
Cases; and be it further

      RESOLVED, that the law firm of Cole Schotz P.C., 500 Delaware Avenue, Suite 1410,
Wilmington, Delaware 19801, is hereby retained and employed as Delaware attorneys for each
Company in the Chapter 11 Cases; and be it further

       RESOLVED, that any Authorized Person, in each case, acting singly or jointly, be, and
each hereby is, authorized, empowered, and directed, with full power of delegation, in the name
and on behalf of each Company, to take and perform any and all further acts and deeds, including,
without limitation, (i) the payment of any consideration, (ii) the payment of fees, consent
payments, indemnities, taxes and other expenses such Authorized Person deems necessary,
appropriate, or desirable, and (iii) negotiating, executing, delivering, performing, and filing any
and all documents, motions, pleadings, applications, declarations, affidavits, schedules,
statements, lists, papers, agreements, certificates and/or instruments (or any amendments or
modifications thereto) in connection with the retention and employment of professionals
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contemplated by the foregoing resolutions (such acts to be conclusive evidence that such
Authorized Person deemed the same to meet such standard); and be it further

       General

        RESOLVED, that any Authorized Person, in each case, acting singly or jointly, be, and
each hereby is, authorized, empowered, and directed, with full power of delegation, in the name
and on behalf of each Company, to take and perform any and all further acts or deeds, including,
but not limited to, (i) the negotiation of such additional agreements, amendments, modifications,
supplements, reports, documents, instruments, applications, notes or certificates not now known
but which may be required, (ii) the execution, delivery and filing (if applicable) of any of the
foregoing, and (iii) the payment of all fees, consent payments, indemnities, taxes and other
expenses as any such Authorized Person, in his or her sole discretion, may approve or deem
necessary, appropriate or desirable in order to carry out the intent and accomplish the purposes of
the foregoing resolutions and the transactions contemplated thereby, all of such actions,
executions, deliveries, filings and payments to be conclusive evidence of such approval or that
such Authorized Person deemed the same to meet such standard; and be it further

        RESOLVED, that any and all past actions heretofore taken by any Authorized Person, any
director or any member of each Company in the name and on behalf of such Company in
furtherance of any or all of the preceding resolutions be, and the same hereby are, ratified,
confirmed, and approved in all respects; and be it further

        RESOLVED, that each Board of Directors has received sufficient notice of the actions
and transactions relating to the matters contemplated by the foregoing resolutions, as required by
the governance documents of such Company, or hereby waives any right to have received such
notice.

                                 *       *      *       *       *
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    Fill in this information to identify the case:

    Debtor name Maremont Corporation
    United States Bankruptcy Court for the: ___________________ District of Delaware
                                                                            (State)                                                                    Check if this is an
    Case number (If known): _______________
                                                                                                                                                       amended filing



    Chapter 11 or Chapter 9 Cases: List of 25 Law Firms With the Largest
    Number of Representations of Asbestos Claimants                                                                                                            12/15
The following is a consolidated alphabetical list of the twenty-five law firms representing the largest number of asbestos plaintiffs asserting
claims against the debtors and debtors in possession (the “Debtors”), based on the number of open and active claims (the "Top Asbestos
Counsel List"). Concurrently with this petition, the Debtors have filed a motion seeking authority to file this Top Asbestos Counsel List in lieu
of a list of the 20 largest unsecured creditors that would include individual asbestos plaintiffs for each of Maremont Corporation, Maremont
Exhaust Products, Inc., AVM, Inc., and Former Ride Control Operating Company, Inc. 1 This list does not include any person or entity who is an
“insider” under section 101(31) of title 11 of the United States Code. The Top Asbestos Counsel List was prepared with information existing as
of January 17, 2019. The Debtors reserve the right to amend the Top Asbestos Counsel List based on additional information that they may
identify. The information contained in the Top Asbestos Counsel List shall not constitute an admission by, nor shall it be binding on, the
Debtors.

Name of law firm and complete             Name, telephone number, and                  Nature of the     Indicate if     Amount of unsecured claim
mailing address, including zip            email address of law firm contact            claim (for        claim is        If the claim is fully unsecured, fill in only
code                                                                                   example,          contingent,     unsecured claim amount. If claim is partially
                                                                                       Trade             unliquidated,   secured, fill in total claim amount and
                                                                                       Payables,         or disputed     deduction for value of collateral or setoff to
                                                                                       bank loans,                       calculate unsecured claim.
                                                                                       professional
                                                                                       services, and
                                                                                       government
                                                                                       contracts)
                                                                                                                         Total          Deduction        Unsecured
                                                                                                                         claim, if      for value of     claim
                                                                                                                         partially      collateral
                                                                                                                         secured        or setoff

          Belluck & Fox, LLP              Joseph Belluck                                                   Disputed/
                                                                                          Asbestos
    1     546 Fifth Avenue                Tel: (646) 760-5799                                             Contingent/                                     Unliquidated
                                                                                       Personal Injury
          New York, NY 10036              Email: jbelluck@belluckfox.com                                  Unliquidated
          Brookman, Rosenberg,
          Brown & Sandler                 Laurence H. Brown                                                Disputed/
                                                                                          Asbestos
    2     One Penn Square West,           Tel: (215) 569-4000                                             Contingent/                                     Unliquidated
                                                                                       Personal Injury
          17th Floor                      Email: lbrown@brbs.com                                          Unliquidated
          Philadelphia, PA 19102
          Cooney & Conway                 John Cooney                                                      Disputed/
                                                                                          Asbestos
    3     120 North Lasalle Street        Tel: (800) 322-5573                                             Contingent/                                     Unliquidated
                                                                                       Personal Injury
          Chicago, IL 60602               Email: info@cooneyconway.com                                    Unliquidated

          Dalton & Associates, P.A.       Andrew C. Dalton                                                 Disputed/
                                                                                          Asbestos
    4     1106 West Tenth Street          Tel: (302) 652-2050                                             Contingent/                                     Unliquidated
                                                                                       Personal Injury
          Wilmington, DE 19086            Email: adalton@bdaltonlaw.com                                   Unliquidated
          Early, Lucarelli, Sweeney &     Christopher Meisenkothen
                                                                                                           Disputed/
          Meisenkothen                    Tel: (212) 986-2233                             Asbestos
    5                                                                                                     Contingent/                                     Unliquidated
          360 Lexington Avenue            Email:                                       Personal Injury
                                                                                                          Unliquidated
          New York, NY 10017              CMEISENKOTHEN@ELSLAW.COM
          Flint Law Firm, LLC             Ethan A. Flint                                                   Disputed/
                                                                                          Asbestos
    6     112 Magnolia Drive              Tel: (618) 288-4777                                             Contingent/                                     Unliquidated
                                                                                       Personal Injury
          Glen Carbon, IL 62304           Email: eflint@flintlaw.com                                      Unliquidated




1
    This list is in substantially the same form as Official Bankruptcy Form 204 for chapter 11 cases setting forth the list of creditors, other than insiders, who
    have the 20 largest unsecured claims against a debtor.
Official Form 204            Chapter 11 Case: List of 25 Law Firms With the Largest Number of Representations of Asbestos Claimants                             page 1
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 Debtor      Maremont Corporation                                                            Case number (if known)
             Name

Name of law firm and complete          Name, telephone number, and         Nature of the     Indicate if      Amount of unsecured claim
mailing address, including zip         email address of law firm contact   claim (for        claim is         If the claim is fully unsecured, fill in only
code                                                                       example,          contingent,      unsecured claim amount. If claim is partially
                                                                           Trade             unliquidated,    secured, fill in total claim amount and
                                                                           Payables,         or disputed      deduction for value of collateral or setoff to
                                                                           bank loans,                        calculate unsecured claim.
                                                                           professional
                                                                           services, and
                                                                           government
                                                                           contracts)
                                                                                                              Total          Deduction      Unsecured
                                                                                                              claim, if      for value of   claim
                                                                                                              partially      collateral
                                                                                                              secured        or setoff
       Goldenberg Heller
                                       Mark C. Goldenberg                                      Disputed/
       Antognoli & Rowland, PC                                                Asbestos
 7                                     Tel: (618) 656-5150                                    Contingent/                                     Unliquidated
       2227 South State Route 157                                          Personal Injury
                                       Email: mark@ghalaw.com                                 Unliquidated
       Edwardsville, IL 62025
       Gori, Julian & Associates, PC   Randy Gori                                              Disputed/
                                                                              Asbestos
 8     156 N. Main Street              Tel: (888) 362-6890                                    Contingent/                                     Unliquidated
                                                                           Personal Injury
       Edwardsville, IL 62025          Email: randy@gorijulianlaw.com                         Unliquidated

       Kelley & Ferraro, LLP           James L. Ferraro                                         Disputed/
                                                                              Asbestos
 9     Ernst & Young Tower             Tel: (216) 202-3450                                     Contingent/                                    Unliquidated
                                                                           Personal Injury
       Cleveland, OH 44113             Email: jferraro@kelleyferraro.com                       Unliquidated
       Law Office Of Jeffrey A
                                       Jeffrey A. Varas                                         Disputed/
       Varas                                                                  Asbestos
 10                                    Tel: (601) 894-4088                                     Contingent/                                    Unliquidated
       Post Office Box 886                                                 Personal Injury
                                       Fax: (6010 894-4688                                     Unliquidated
       Hazlehurst, MS 39083
       Law Offices Of Peter G.
                                       Peter G. Angelos                                        Disputed/
       Angelos, PC                                                            Asbestos
 11                                    Tel: (410) 649-2000                                    Contingent/                                     Unliquidated
       100 N. Charles Street                                               Personal Injury
                                       Fax: (410) 649-2101                                    Unliquidated
       Baltimore, MD 21201
                                       Stanley J. Levy
       Levy Konigsberg LLP                                                                     Disputed/
                                       Tel: (212) 605-6200                    Asbestos
 12    800 Third Avenue                                                                       Contingent/                                     Unliquidated
                                       Fax: (212) 605-6290                 Personal Injury
       New York, NY 10022                                                                     Unliquidated

       Lipsitz & Ponterio, LLC         John P. Comerford                                       Disputed/
                                                                              Asbestos
 13    424 Main St., Suite 1500        Tel: (716) 849-0701                                    Contingent/                                     Unliquidated
                                                                           Personal Injury
       Buffalo, NY 14202               Email: jpc@lipsitzponterio.com                         Unliquidated
       Maune Raichle Hartley
       French & Mudd, LLC              T. Barton French                                        Disputed/
                                                                              Asbestos
 14    1015 Locus Street, Suite        Tel: (888) 888-8621                                    Contingent/                                     Unliquidated
                                                                           Personal Injury
       1200                            Email: bfrench@mrhfmlaw.com                            Unliquidated
       St. Louis, MO 63101
       Michael B. Serling, PC
                                       Michael B. Serling                                      Disputed/
       280 North Old Woodward                                                 Asbestos
 15                                    Tel: (248) 647-6966                                    Contingent/                                     Unliquidated
       Avenue                                                              Personal Injury
                                       Email: mserling@serlinglaw.com                         Unliquidated
       Birmingham, MI 48009
       Motley Rice LLC                 Joseph F. Rice                                           Disputed/
                                                                              Asbestos
 16    28 Bridgeside Blvd.             Tel: (843) 216-9000                                     Contingent/                                    Unliquidated
                                                                           Personal Injury
       Mount Pleasant, SC 29465        Email: jrice@motleyrice.com                             Unliquidated
       Napoli Shkolnik PLLC
                                       Hunter J. Shkolnik                                       Disputed/
       350 Fifth Avenue, Suite                                                Asbestos
 17                                    Tel: (212) 397-1000                                     Contingent/                                    Unliquidated
       7413                                                                Personal Injury
                                       Email: hunter@napolilaw.com                             Unliquidated
       New York, NY 10018
       O’Brien Law Firm, PC            Andrew O’Brien                                           Disputed/
                                                                              Asbestos
 18    815 Geyer Avenue                Tel: (314) 588-0558                                     Contingent/                                    Unliquidated
                                                                           Personal Injury
       St. Louis, MO 63104             Email: obrien@obrienlawfirm.com                         Unliquidated

       Porter & Malouf                 Patrick C. Malouf                                       Disputed/
                                                                              Asbestos
 19    4465 I-55 North, Suite 301      Tel: (601) 957-1173                                    Contingent/                                     Unliquidated
                                                                           Personal Injury
       Jackson, MS 39236               Email: patrick@portermalouf.com                        Unliquidated

Official Form 204         Chapter 11 Case: List of 25 Law Firms With the Largest Number of Representations of Asbestos Claimants                     page 2
                               Case 19-10118-KJC                 Doc 1   Filed 01/22/19             Page 14 of 22
 Debtor      Maremont Corporation                                                          Case number (if known)
             Name

Name of law firm and complete       Name, telephone number, and          Nature of the     Indicate if      Amount of unsecured claim
mailing address, including zip      email address of law firm contact    claim (for        claim is         If the claim is fully unsecured, fill in only
code                                                                     example,          contingent,      unsecured claim amount. If claim is partially
                                                                         Trade             unliquidated,    secured, fill in total claim amount and
                                                                         Payables,         or disputed      deduction for value of collateral or setoff to
                                                                         bank loans,                        calculate unsecured claim.
                                                                         professional
                                                                         services, and
                                                                         government
                                                                         contracts)
                                                                                                            Total          Deduction      Unsecured
                                                                                                            claim, if      for value of   claim
                                                                                                            partially      collateral
                                                                                                            secured        or setoff
       Richardson, Patrick,
                                    Terry E. Richardson, Jr.                                 Disputed/
       Westbrook & Brickman, LLC                                            Asbestos
 20                                 Tel: 803-541-7860                                       Contingent/                                     Unliquidated
       Mark Twain Plaza II                                               Personal Injury
                                    Email: trichardson@rpwb.com                             Unliquidated
       Edwardsville, IL 62025
                                    Justin Shrader
       Shrader & Associates, LLP                                                             Disputed/
                                    Tel: (618) 370-3225                     Asbestos
 21    3900 Essex Lane, Suite 390                                                           Contingent/                                     Unliquidated
                                    Email: info@shraderlaw.com           Personal Injury
       Houston, TX 77027                                                                    Unliquidated
                                    Fax: (713) 571-9605
       Simmons Hanly Conroy LLC     Perry J. Browder                                         Disputed/
                                                                            Asbestos
 22    707 Berkshire Blvd.          Tel: 618-259-2222                                       Contingent/                                     Unliquidated
                                                                         Personal Injury
       East Alton, IL 62024         Email: pbrowder@simmonsfirm.com                         Unliquidated

       SWMW Law, LLC                Benjamin Schmickle                                       Disputed/
                                                                            Asbestos
 23    701 Market St., #1575        Tel: 314.480.5180                                       Contingent/                                     Unliquidated
                                                                         Personal Injury
       St. Louis, MO 63101          Email: ben@swmwlaw.com                                  Unliquidated
                                    David A. Jagolinzer
       The Ferraro Law Firm         Tel: (305) 547-9800                                      Disputed/
                                                                            Asbestos
 24    600 Brickell Avenue          Email: daj@ferrarolaw.com                               Contingent/                                     Unliquidated
                                                                         Personal Injury
       Miami, FL 33131              Fax: (305) 379-6222                                     Unliquidated

                                    Perry Weitz
       Weitz & Luxenberg, P.C.                                                               Disputed/
                                    Tel: (212) 558-5500                     Asbestos
 25    700 Broadway                                                                         Contingent/                                     Unliquidated
                                    Email: info@weitzlux.com             Personal Injury
       New York, NY 10003                                                                   Unliquidated
                                    Fax: (212) 344-5461




Official Form 204        Chapter 11 Case: List of 25 Law Firms With the Largest Number of Representations of Asbestos Claimants                    page 3
                          Case 19-10118-KJC                  Doc 1        Filed 01/22/19             Page 15 of 22



 Fill in this information to identify the case and this filing:

 Debtor Name Maremont Corporation
 United States Bankruptcy Court for the: _____ District of Delaware
                                                          (State)
 Case number (If known):




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

         An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership,
must sign and submit this form for the schedules of assets and liabilities, any other document that requires a declaration that
is not included in the document, and any amendments of those documents. This form must state the individual's position or
relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

        WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money
or property by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


               Declaration and signature



        I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
        individual serving as a representative of the debtor in this case.
         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


         □     Schedule A/8: Assets-Real and Personal Property (Official Form 206A/B)

         □     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         □     Schedule EIF: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         □     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         □     Schedule H: Codebtors (Official Form 206H)

         D     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

         □     Amended Schedule

         □     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

         181   Other document that requires a declaration      List of 25 Law Firms with the Largest Number of Representations of Asbestos Claimants


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          Executed on       01/22/2019 _
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                                                                   Signature of individual signing on behalf of debtor


                                                                    Carl D. Anderson, II
                                                                    Printed name

                                                                    Chairman and Sole Officer
                                                                    Position or relationship to debtor


Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
                                  Case 19-10118-KJC                    Doc 1           Filed 01/22/19        Page 16 of 22

    Fill in this information to identify the case:

    Debtor name Maremont Corporation
    United States Bankruptcy Court for the: ___________________ District of Delaware
                                                                            (State)                                                              Check if this is an
    Case number (If known): _______________
                                                                                                                                                 amended filing
          The following is a consolidated list of all known creditors potentially holding unsecured claims against the debtors and debtors in
possession (the “Debtors”) other than asbestos-related claims (the “Unsecured Creditors List”). Concurrently with this Petition, the Debtors
have filed a motion seeking authority to file this Unsecured Creditors List, along with a list of the twenty-five (25) law firms representing the
largest numbers of asbestos plaintiffs asserting claims against the Debtors, in lieu of a list of the twenty (20) largest unsecured creditors for
each of Maremont Corporation, Maremont Exhaust Products, Inc., AVM, Inc., and Former Ride Control Operating Company, Inc. 1
          The Unsecured Creditors List has been prepared from the unaudited books and records of the Debtors. The Unsecured Creditors List
reflects estimated amounts owed by the Debtors as of the Petition Date on a consolidated basis. It was produced from the books and records
of the Debtors as of the close of business on January 21, 2019. The information contained herein shall not constitute an admission of liability
by, nor is it binding on, the Debtors. Moreover, nothing herein shall affect the Debtors’ right to challenge the amount or characterization of any
claim at a later date. The Debtors’ failure to list a claim as contingent, unliquidated or disputed does not constitute a waiver of the Debtors’
right to contest the validity, priority and/or amount of any such claim.

    Official
    Form 204
    Chapter 11 or Chapter 9 Cases: List of Unsecured Creditors                                                                                             12/15

Name of creditor and complete                  Name, telephone number,             Nature of the    Indicate if      Amount of unsecured claim
mailing address, including zip code            and email address of creditor       claim (for       claim is         If the claim is fully unsecured, fill in only
                                               contact                             example, Trade   contingent,      unsecured claim amount. If claim is partially
                                                                                   Payables, bank   unliquidated,    secured, fill in total claim amount and
                                                                                   loans,           or disputed      deduction for value of collateral or setoff to
                                                                                   professional                      calculate unsecured claim.
                                                                                   services, and
                                                                                   government
                                                                                   contracts)
                                                                                                                     Total claim,    Deduction       Unsecured
                                                                                                                     if partially    for value of    claim
                                                                                                                     secured         collateral
                                                                                                                                     or setoff
        Chickasha and Hardage, Oklahoma
        sites                                  Pete Mirakian III, Attorney at
        700 North Industrial Boulevard         Law – Hardage Site Remedy
        Chickasha, OK 73018                    Corporation Trust
                                               (816) 292-8158
        Hardage Site Remedy Corporation        pmirakian@spencerfane.com
        Trust                                                                      Environmental
1       Spencer Fane LLP                       Mark Kamilow, President and         cleanup and       Unliquidated                                     Unliquidated
        1000 Walnut Street, Suite 1400         Chairperson                         monitoring
        Kansas City, MO 64106                  Hardage Site Remedy
                                               Corporation Trust
        Hardage Site Remedy Corporation        Hardage information requests:
        Trust                                  (918) 582-3733
        15213 180th Street                     bcostello@nationwideenv.com
        Lindsay, OK 73052
        Delaware Secretary of State
        Div of Corporations, Franchise Tax                                         Annual Reports
                                               (302) 739-3073 (Option 3)
2       and Annual Reports                                                         and Franchise     Unliquidated                                     Unliquidated
                                               DOSDOC_Ftax@state.de.us
        PO Box 898                                                                 Tax
        Dover, DE 19903




1
    This list is in substantially the same form as Official Bankruptcy Form 204 for chapter 11 cases setting forth the list of creditors who have the 20 largest
    unsecured claims against a debtor, with the exception that this list includes entries for a person or entity who is an “insider” under section 101(31) of title
    11 of the United States Code.
Official Form 204                               Chapter 11 Case: Unsecured Creditors List                                                                   page 1
                                   Case 19-10118-KJC                  Doc 1    Filed 01/22/19            Page 17 of 22
    Debtor      Maremont Corporation                                                            Case number (if known)
                Name

Name of creditor and complete                 Name, telephone number,         Nature of the     Indicate if      Amount of unsecured claim
mailing address, including zip code           and email address of creditor   claim (for        claim is         If the claim is fully unsecured, fill in only
                                              contact                         example, Trade    contingent,      unsecured claim amount. If claim is partially
                                                                              Payables, bank    unliquidated,    secured, fill in total claim amount and
                                                                              loans,            or disputed      deduction for value of collateral or setoff to
                                                                              professional                       calculate unsecured claim.
                                                                              services, and
                                                                              government
                                                                              contracts)
                                                                                                                 Total claim,    Deduction       Unsecured
                                                                                                                 if partially    for value of    claim
                                                                                                                 secured         collateral
                                                                                                                                 or setoff
       Easley, South Carolina site – Easley
       Trust
       619 Rolling Hills Circle               Eugene C. McCall, Jr., Easley   Environmental –
       Easley, SC 29640                       Trust Co-Trustee                remedial
3                                                                                                 Unliquidated                                    Unliquidated
                                              (864) 370-1550                  cleanup and
       McCall Environmental, P.A.             gene@mccallenv.com              closure
       100 Tower Drive, Unit 16
       Greenville, South Carolina 29607
       Marion, South Carolina site            Regan Rahn, Project Manager -
       144 Tranquil Church Road               Bureau of Land and Waste
       Mullins, SC 29574                      Management –
                                              South Carolina Department of
       Bureau of Land and Waste               Health and Environmental
       Management – Voluntary Cleanup         Control
       Program                                (803) 898-3432
       South Carolina Department of           rahnrd@dhec.sc.gov
                                                                              Environmental –
       Health and Environmental Control
4                                                                             remediation and     Unliquidated                                    Unliquidated
       2600 Bull Street                       Robert Hodges
                                                                              cleanup
       Columbia, SC 29201                     (803) 896-4069
                                              hodgesrf@dhec.sc.gov
       AVM Industries LLC
       144 Tranquil Church Road               Todd Greve, Manager of
       Mullins, SC 29571                      Engineering and Quality
                                              AVM Industries LLC
                                              (800) 790-5438

                                                                              Intercompany
       Meritor, Inc.                          Corporate Secretary             payables –
5      2135 West Maple Road                   (248) 435-1000                  Maremont                                                            $30,000,000
       Troy, MI 48084                         april.boise@meritor.com         Exhaust
                                                                              Products, Inc.
       Meritor, Inc.                          Corporate Secretary             Intercompany
6      2135 West Maple Road                   (248) 435-1000                  payables – AVM,                                                     $1,000,000
       Troy, MI 48084                         april.boise@meritor.com         Inc.
                                                                              Intercompany
                                                                              payables –
       Meritor, Inc.                          Corporate Secretary
                                                                              Former Ride
7      2135 West Maple Road                   (248) 435-1000                                                                                     $134,000,000
                                                                              Control
       Troy, MI 48084                         april.boise@meritor.com
                                                                              Operating
                                                                              Company, Inc.
       Zion, South Carolina site
       Old Zion School Road                   South Carolina Department of
       Mullins, SC 29574                      Health and Environmental
                                              Control
       Bureau of Land and Waste               (803) 898-3432                  Environmental –
8      Management – Voluntary Cleanup         info@dhec.sc.gov                remediation and     Unliquidated                                    Unliquidated
       Program                                                                cleanup
       South Carolina Department of           Robert Hodges
       Health and Environmental Control       (803) 896-4069
       2600 Bull Street                       hodgesrf@dhec.sc.gov
       Columbia, SC 29201




Official Form 204                       Chapter 11 or Chapter 9 Cases: Unsecured Creditors List                                                         page 2
                            Case 19-10118-KJC                   Doc 1        Filed 01/22/19         Page 18 of 22


 Fill in this information to identify the case and this filing:

 Debtor Name Maremont Corporation

 United States Bankruptcy Court for the:                       District of Delaware .
                                                                          (State)

 Case number (If known):




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                   12/15

         An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership,
must sign and submit this form for the schedules of assets and liabilities, any other document that requires a declaration that
is not included in the document, and any amendments of those documents. This form must state the individual’s position or
relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

         WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money
or property by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


            Declaration and signature



        I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
        individual serving as a representative of the debtor in this case.

        I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


             Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

             Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

             Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

             Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

             Schedule H: Codebtors (Official Form 206H)

             Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____

             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

             Other document that requires a declaration


        I declare under penalty of perjury that the foregoing is true and correct.

          Executed on        01/22/2019                              x
                            MM / DD / YYYY                           Signature of individual signing on behalf of debtor


                                                                     Carl D. Anderson, II
                                                                     Printed name

                                                                     Chairman and Sole Officer
                                                                     Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
                 Case 19-10118-KJC       Doc 1     Filed 01/22/19    Page 19 of 22



                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE


 In re:                                                Chapter 11

 MAREMONT CORPORATION,                                 Case No. 19-_____ (___)

                         Debtor.


                          CORPORATE OWNERSHIP STATEMENT

          Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the

following list identifies all corporations, other than a governmental unit, which directly or

indirectly own 10% or more of any class of equity interests in Maremont Corporation:

                   Direct Owner                                   Indirect Owners
 Meritor, Inc.                                     None
                            Case 19-10118-KJC                    Doc 1         Filed 01/22/19           Page 20 of 22



 Fill in this information to identify the case and this filing:


 Debtor Name Maremont Corporation

 United States Bankruptcy Court for the: _ _ _ _ _ District of Delaware
                                                              (State)
 Case number (If known): _ _ _ _ _ __




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

         An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership,
must sign and submit this form for the schedules of assets and llabillties, any other document that requires a declaration that
Is not included in the document, and any amendments of those documents. This form must state the Individual's position or
relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

         WARNING - Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money
or property by fraud in connection with a bankruptcy case can result in fines up to $500,000 or Imprisonment for up to 20
years, or both.18 U.S.C. §§ 152, 1341, 1519, and 3571.


              Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
         individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


        0     Schedule NB: Assets-Real and Personal Property (Official Form 206NB)

        •     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

        •     Schedule EIF: Creditors Who Have Unsecured Claims (Official Form 206E/F)

        •     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

        •     Schedule H: Codebtors (Official Form 206H)

         D    Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

         D    Amended Schedule

        •     Chapter 11 or Chapter 9 Cases: UstofCreditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

        181   Other document that requires a declaration --=
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         1declare under penalty of perjury that the foregoing is true and correct.    ,J / ~fi
          Executed on       _01/22/2019
                              _____
                            MM / DD / YYYY
                                                                      x              (/4/ tf'Y~               2
                                                                      Signature of individual signing on beifalfotdebtor


                                                                      Carl D. Anderson, II
                                                                      Printed name

                                                                      Chairman and Sole Officer
                                                                      Position or relationship to debtor



Official Form 202                            Declaration Under Penalty of Perjury for Non-lndlvidual Debtors
              Case 19-10118-KJC         Doc 1    Filed 01/22/19     Page 21 of 22



                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE


 In re:                                               Chapter 11

 MAREMONT CORPORATION,                                Case No. 19-_____ (___)

                       Debtor.


                         LIST OF EQUITY SECURITY HOLDERS

          Pursuant to rule 1007(a)(3) of the Federal Rules of Bankruptcy Procedure, the following
is a list of holders of equity securities of the above-captioned debtor.

 Name and Last Known Address or                 Kind of Interest         Percentage of Interest
     Place of Business of Holder
 Meritor, Inc.                                  Common Shares                     100%

 2135 West Maple Road
 Troy, MI 48084
                           Case 19-10118-KJC                      Doc 1          Filed 01/22/19               Page 22 of 22



 Fill in this information to identify the case and this filing:

 Debtor Name Maremont Corporation

 United States Bankruptcy Court for the: _ ____ District of Delaware
                                                           (State)

 Case number (If known):




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                              12/15

         An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership,
must sign and submit this form for the schedules of assets and liabilities, any other document that requires a declaration that
is not included in the document, and any amendments of those documents. This form must state the individual's position or
relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

        WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money
or property by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20
years, or both.18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Declaration and signature



        I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
        individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


        •      Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

        •      Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

        •      Schedule EIF: Creditors Who Have Unsecured Claims (Official Form 206E/F)

        •      Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

        •      Schedule H: Codebtors (Official Form 206H)

         D     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

        •      Amended Schedule

        •      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

         181   Other document that requires a declaration ---=L=is.._to=f--=E=q=
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                                                                          Signature of individual signing on behalf of debtor


                                                                         Carl D. Anderson, II
                                                                         Printed name

                                                                         Chairman and Sole Officer
                                                                         Position or relationship to debtor


Official Form 202                              Declaration Under Penalty of Perjury for Non-Individual Debtors
